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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
      vs.                                  )      5:96-CR-00208-SLB-SGC-1
                                           )
MARVIN LEE HOLLEY,                         )
                                           )
      Defendant.                           )

                           MEMORANDUM OPINION

      This matter comes before the court on Defendant Marvin Lee Holley’s

motion to reduce sentence pursuant to 18 U.S.C. § 3582(c)(1)(A), (doc. 485),1 and

motion to appoint counsel, (doc. 484). Mr. Holley asserts that he has extraordinary

and compelling reasons supporting a reduction in his sentence because of the risk

posed by the current COVID-19 pandemic, his age and health conditions, and his

rehabilitation during his imprisonment. (Doc. 485). After reviewing the

submissions of the parties, the court finds that Mr. Holley is not entitled to

compassionate release at this time. Additionally, the court will decline to grant

Mr. Holley appointed counsel.

      I.     Factual Background

      In 1996, Mr. Holley was charged via superseding indictment with: one count

      1
        Reference to a document number, [“Doc. ___”], refers to the number
assigned to each document as it is filed in the court’s record. Page number
citations refer to the page numbers assigned to the document by the court’s
CM/ECF electronic filing system.
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of conspiracy to possess with intent to distribute marijuana and cocaine, in

violation of 21 U.S.C. § 846 (Count One); one count of being an organizer,

supervisor, and manager of a continuing criminal enterprise, in violation of 21

U.S.C. § 848 (Count Two); one count of continuing criminal enterprise murder, in

violation of 21 U.S.C. § 848(e)(1)(A) (Count Three); one count of obstruction of

justice, in violation of 18 U.S.C. § 1503 (Count Four): and one count of conspiracy

to obstruct justice, in violation of 18 U.S.C. §§ 1503 & 371 (Count Five). (Doc. 6).

The indictment alleged that Mr. Holley was the organizer of a conspiracy taking

place over the course of more than a decade and involving more than 5,000 pounds

of marijuana, more than 5 kilograms of cocaine, and hundreds of thousands of

dollars. (Id. at 1–9). Additionally, the indictment alleged that, in 1991 and in

furtherance of the conspiracy/continuing criminal enterprise, Mr. Holley murdered

Ronald Avans, a man who had been involved with his organization. (Id. at 9–10).

The indictment also charged Mr. Holley with soliciting the murder of witnesses in

order to prevent them from testifying against him related to the abduction and

murder of Ronald Avans in furtherance of his criminal enterprise. (Id. at 10-11).

Finally, the indictment charged Mr. Holley with conspiring to obstruct justice with

Billy Jay Gore, a prisoner serving a life sentence, by giving Mr. Gore information

about the murder of Ronald Avans and paying Mr. Gore to falsely confess to the

murder to conceal Mr. Holley’s involvement. (Id. at 11–14).


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      Mr. Holley proceeded to a trial by jury. The jury found Mr. Holley guilty of

all charges. (Doc. 366); (doc. 367). However, the court later vacated Mr. Holley’s

conviction as to Count One, conspiracy to distribute controlled substances, because

it was a lesser included offense of Count Two, his continuing criminal enterprise

conviction. (Doc. 401 at 1). The court sentenced Mr. Holley to life in prison as to

Count Two, life in prison without parole as to Count Three, 10 years of

imprisonment as to Count Four, and 5 years of imprisonment as to Count Five, all

to run concurrently. (Doc. 405 at 2).

      Mr. Holley is currently serving his life sentence at Talladega FCI. See

https://www.bop.gov/inmateloc/ (last visited June 7, 2021). He is 75 years old.

(Id.). According to information from the Bureau of Prisons, Talladega FCI

currently does not have any inmates or staff who are positive for COVID-19. See

https://www.bop.gov/coronavirus/ (last visited June 7, 2021).

      Mr. Holley’s medical records show that he suffers from numerous health

problems, including benign stable hypertension, an acute respiratory infection,

multiple benign skin and dental conditions, moderate chronic kidney disease, eye

issues, chronic ischemic heart disease characterized as stable, hearing problems,

benign enlarged prostate, prediabetes, and unspecified chest pain. (Doc. 485-3);

(doc. 490-2); (doc. 490-3). Mr. Holley takes multiple medications to control his

conditions. (Doc. 485-3). Mr. Holley’s records indicate that he is able to exercise


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frequently. (Doc. 485-3 at 5). As of 2018, Mr. Holley’s records show that his

vision required relatively minimal correction. (Id. at 11).

      The acting Clinical Director at Talladega FCI provided information that Mr.

Holley was recently scheduled for a stress test to evaluate his chest pain and heart

disease, but Mr. Holley refused the test. (Doc. 490-2). The Clinical Director also

stated that Mr. Holley’s life expectancy was considered to be “relatively

normal”—though the Director could not fully assess life expectancy without the

stress test that Mr. Holley refused—and that Mr. Holley is capable of self-care.

(Id.). Mr. Holley previously contracted COVID-19 but has subsequently tested

negative on multiple occasions. (Doc. 490-3 at 7); (doc. 490-4). He is now fully

vaccinated against COVID-19. (Doc. 490-5).

      Mr. Holley has not had any disciplinary incidents since his incarceration at

Talladega FCI. (Doc. 485-5 at 3). The Bureau of Prisons has assessed Mr.

Holley’s risk level as low. (Doc. 485-6 at 2).

      II.    Standard of Review

      Mr. Holley brings his motion for compassionate release under 18 U.S.C.

§ 3582(c)(1)(A). Section 3582, as amended by the First Step Act, states that courts

generally cannot alter or modify a term of imprisonment after its imposition, but

the court can reduce an inmate’s term of imprisonment upon a motion for sentence

modification from the Bureau of Prisons or from a prisoner, where the prisoner has


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properly exhausted his or her administrative remedies. 18 U.S.C. § 3582(c)(1)(A).

Upon a prisoner’s exhaustion of administrative remedies, Section 3582(c)(1)(A)

allows a court to modify a defendant’s sentence “after considering the factors set

forth in section 3553(a) to the extent that they are applicable” if the court finds that

“extraordinary and compelling reasons warrant such a reduction” and finds that

“such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” Id.

      The relevant Sentencing Commission policy statement contains application

notes for Section 3582(c)(1)(A) that set forth several “extraordinary and

compelling reasons” warranting a reduction in sentence. U.S.S.G. § 1B1.13(1)(A)

& cmt. 1. Those circumstances are: (A) a medical condition affecting the

defendant; (B) the age of the defendant; (C) certain family circumstances; and

(D) “Other Reasons,” a catchall provision which applies to reasons other than, or in

combination with, those described in (A) through (C), “[a]s determined by the

Director of the Bureau of Prisons.” Id. § 1B1.13 cmt. 1. The medical condition

circumstance applies where an inmate is suffering from a “terminal illness,” a

“serious physical or medical condition,” a “serious functional or cognitive

impairment,” or “deteriorating physical or mental health because of the aging

process” and the condition “substantially diminishes the ability of the defendant to

provide self-care within the environment of a correctional facility and from which


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he or she is not expected to recover.” Id. § 1B1.13 cmt. 1(A). The age provision

applies where the defendant: “(i) is at least 65 years old; (ii) is experiencing a

serious deterioration in physical or mental health because of the aging process; and

(iii) has served at least 10 years or 75 percent of his or her term of imprisonment,

whichever is less.” Id. § 1B1.13 cmt. 1(C). To merit compassionate release, the

policy statement also requires that the defendant not be “a danger to the safety of

any other person or to the community.” Id. § 1B1.13(2).

      A panel of the Eleventh Circuit has recently held in a published opinion that

the policy statement in U.S.S.G. § 1B1.13 “is an applicable policy statement that

governs all motions under Section 3582(c)(1)(A).” United States v. Bryant, 996

F.3d 1243, 1262 (11th Cir. 2021). Therefore, a district court “may not reduce a

sentence under Section 3582(c)(1)(A) unless a reduction would be consistent with

1B1.13.” Id. Further, the Eleventh Circuit clarified that courts should apply

Application Note 1(D), the catchall provision, as it is written, stating that the

Bureau of Prisons—not the court—determines “which reasons outside of those

explicitly delineated by the Commission are extraordinary and compelling.” Id. at

1264–65. Thus, courts do not have the discretion to “develop ‘other reasons’”

under Application Note 1(D) “that might justify a reduction in a defendant’s

sentence.” Id. at 1248.




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      III.   Discussion

      In his motion seeking compassionate release pursuant to Section

3582(c)(1)(A), Mr. Holley argues that this court has the discretion to determine

whether his reasons for release are extraordinary and compelling and warrant a

reduction in his sentence. (Doc. 485 at 1–2). He states that he has complied with

the administrative exhaustion requirement of Section 3582(c)(1)(A) and includes

documentation showing that he requested compassionate release from the warden

of his correctional institution and did not receive a response within 30 days. (Id. at

2); (doc. 485-1). Mr. Holley admits that he committed violent crimes deserving a

long sentence but argues that his post-incarceration conduct shows rehabilitation

meriting release and shows that he is not a threat to the safety of the public. (Doc.

485 at 2–4; 7–10). Mr. Holley also argues that the threat of COVID-19, his age,

and his deteriorating health conditions warrant compassionate release. (Id. at 4–7).

Finally, Mr. Holley argues that his crime involved large amounts of hemp, so he

contends that he would not face such a long sentence today. (Id. at 10–12). Mr.

Holley also filed a motion for appointment of counsel to help him pursue

compassionate release. (Doc. 484).

       The government filed a response in opposition. (Doc. 490). In its

response, the government acknowledges that Mr. Holley exhausted his

administrative remedies when he sought compassionate release from the warden of


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his correctional institution and did not receive a response for more than 30 days.

(Id. at 3–4); (doc. 490-1); (doc. 490-6). The government argues that Mr. Holley

nonetheless is not entitled to relief because he failed to show extraordinary and

compelling reasons warranting compassionate release, as he cannot show that his

circumstances meet the requirements for extraordinary and compelling reasons as

set forth by the applicable policy statement for Section 3582(c). (Doc. 490 at 4–9).

The government also argues that the factors set forth in 18 U.S.C. § 3553(a) do not

weigh in favor of release. (Id. at 9–11).

      In this case, Mr. Holley requested compassionate release from the warden of

his correctional institution and did not receive a response within 30 days. (Doc.

485 at 1–2); (doc. 485-1). As noted, the government acknowledges that Mr.

Holley properly exhausted his administrative remedies. (Doc. 490 at 2–4); (doc.

490-1); (doc. 490-6). Accordingly, Mr. Holley has fulfilled the exhaustion

requirements set forth in Section 3582(c)(1)(A) and his motion is properly before

the court for consideration on the merits. See 18 U.S.C. § 3582(c)(1)(A).

      Upon review of the filings in this case, the court finds that Mr. Holley is not

entitled to compassionate release because he has not shown extraordinary and

compelling reasons for release such that a reduction in his sentence would be

“consistent with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. 3582(c)(1)(A). As the Eleventh Circuit has recently


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clarified, the policy statement set forth in U.S.S.G. § 1B1.13— including its

explanation of extraordinary and compelling reasons meriting compassionate

release—governs all motions filed under Section 3582(c)(1)(A), even those filed

by prisoners pursuant to the First Step Act. Bryant, 996 F.3d at 1262. Based on

Mr. Holley’s motion, there are three sections of the applicable policy statement

under which Mr. Holley could potentially seek compassionate release: the section

for inmates with serious medical conditions, the section based on an inmate’s age,

and the catchall provision in Application Note 1(D). See U.S.S.G. § 1B1.13 &

cmt. 1. Because Mr. Holley cannot show entitlement to compassionate release

under any of those provisions, the court finds that he has not shown circumstances

that are consistent with the extraordinary and compelling reasons set forth in

U.S.S.G. § 1B1.13 & cmt. 1.

      As an initial matter, Mr. Holley cannot show extraordinary and compelling

reasons meriting release under the catchall provision of the policy statement, which

applies upon extraordinary and compelling reasons determined by the Director of

the Bureau of Prisons. See U.S.S.G. § 1B1.13 cmt. 1(D). Under the Eleventh

Circuit’s recent holding in Bryant, the catchall provision in Application Note 1(D)

must be applied as read and cannot be expanded to give courts, rather than the

Bureau of Prisons, discretion to determine what “other reasons” qualify as

extraordinary and compelling. See Bryant, 996 F.3d at 1248, 1264–65. Here, the


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Director of the Bureau of Prisons has not delineated Mr. Holley’s reasons for

compassionate release as extraordinary and compelling, so Mr. Holley cannot

show entitlement to relief under the catchall provision of Application Note 1(D).

      Mr. Holley also cannot show extraordinary and compelling reasons for

compassionate release based on a medical condition under Application Note 1(A).

See U.S.S.G. § 1B1.13 cmt. 1(A). Mr. Holley does not allege, and his medical

records do not indicate, that he is suffering from a terminal illness. See id. 1B1.13

cmt. 1(A)(i). Further, Mr. Holley cannot show that he has any medical condition

or impairment from which he is not expected to recover and that substantially

diminishes his ability to provide self-care within his correctional institution. See

id. 1B1.13 cmt. 1(A)(ii). Mr. Holley’s medical records show that he suffers from a

number of chronic conditions, including hypertension, chronic kidney disease,

chronic ischemic heart disease, an enlarged prostate, and prediabetes. (Doc. 485-

3); (doc. 490-2); (doc. 490-3). However, Mr. Holley’s medical records show that

his conditions are controlled with medication; the records also clearly state that

Mr. Holley is capable of self-care and is able to exercise frequently. (Doc. 490-2);

(doc. 485-3 at 5); (doc. 490-3 at 7). Accordingly, Mr. Holley’s medical conditions

do not substantially limit his ability to provide self-care within his correctional

institution; therefore, he cannot show that he qualifies for compassionate release

based on a medical condition as set forth by the applicable policy statement. See


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U.S.S.G. § 1B1.13 & cmt. 1(A).

       Mr. Holley also cannot show that he meets the requirements for

extraordinary and compelling circumstances under the policy statement dealing

with age. The policy statement’s provision based on the age of the defendant states

that extraordinary and compelling circumstances exists where a defendant is at

least 65, “is experiencing a serious deterioration in physical or mental health

because of the aging process,” and has served the lesser of 10 years or 75 percent

of his term of imprisonment. U.S.S.G. § 1B1.13 cmt. 1(B). Here, Mr. Holley

clearly meets two of the requirements; he is 75 years old and has served

approximately 22 years of his life sentence. See https://www.bop.gov/inmateloc/

(last visited June 7, 2021); (Doc. 399). Thus, the only question is whether

Mr. Holley is suffering from “a serious deterioration in physical or mental health

because of the aging process.” U.S.S.G. § 1B1.13 cmt. 1(B). The court finds that

he is not.

       In determining whether a defendant is experiencing a serious deterioration in

health due to the aging process, courts conduct “a fact-intensive analysis.” United

States v. Ebbers, 432 F. Supp. 3d 421, 428 (S.D.N.Y. 2020). Based on the

differences in the text of the application notes for medical conditions and for the

age of the defendant, a prisoner relying on age is not required to show that he

cannot provide self-care, but that is a factor that courts may consider in


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determining whether he has “serious” age-related deterioration. Id.; see also

U.S.S.G. § 1B1.13 cmt. 1(A), (B).

      As discussed above, Mr. Holley suffers from multiple chronic health

conditions that could be attributed to age, including, but not limited to, benign

hypertension, moderate kidney disease, chronic stable ischemic heart disease,

benign enlarged prostate, and relatively minor issues with his skin, teeth, vision,

and hearing. (Doc. 485-3); (doc. 490-2); (doc. 490-3). However, Mr. Holley’s

medical records show that his conditions are generally characterized as benign

and/or stable. (Doc. 485-3); (doc. 490-2); (doc. 490-3). Further, his conditions

like hypertension, ischemic heart disease, and enlarged prostate are treated and

controlled with medication. (Doc. 485-3). Mr. Holley’s most concerning

condition appears to be his chronic ischemic heart disease. When he was last given

a stress test, however, it did not diagnose any issues; further, he refused to get a

stress test when one was ordered recently. (Doc. 490-3 at 20); (Doc. 490-2).

Mr. Holley’s refusal to have a stress test undercuts any assertions about the

immediate seriousness of his condition. Without the stress test that Mr. Holley

refused, his life expectancy was assessed by a medical professional to be

“relatively normal.” (Doc. 490-2). Thus, his conditions do not appear to be

causing any immediate and serious decline in Mr. Holley.

      Mr. Holley’s various conditions also do not seem to have had major effects


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on his quality of life. For instance, while Mr. Holley has multiple conditions

affecting his vision, his medical records show that he requires only minor visual

correction. (Doc. 485-3); (Doc. 490-3). Further, Mr. Holley’s records show that

he is able to exercise frequently and provide self-care. (Doc. 490-2); (doc. 485-3 at

5). There is no indication that he needs any specialized or constant medical

attention. Thus, Mr. Holley’s conditions have not caused such a “deterioration” in

his health that he can no longer perform his normal functions or take care of

himself. U.S.S.G. § 1B1.13 cmt. 1(B).

      Mr. Holley also cannot rely on the risk presented by COVID-19 combined

with his age and health conditions to show a deterioration in his health due to age.

First, Mr. Holley previously contracted COVID-19 and recovered. See (Doc. 490-

3 at 7); (doc. 490-4). Second, Talladega FCI currently is not reporting any cases of

COVID-19, which mitigates the risk from the virus. See https://www.bop.gov

/coronavirus/ (last visited June 7, 2021). Most importantly, Mr. Holley is now

fully vaccinated against COVID-19. (Doc. 490-5). Courts have recognized that

“[b]eing fully vaccinated means [a] Defendant has a very low risk of developing

COVID-19 that will result in death or serious illness.” United States v. Loute, No.

2:15-CR-99-FTM-38MRM, 2021 WL 1946701, at *2 (M.D. Fla. May 14, 2021).

Accordingly, Mr. Holley is at low risk from COVID-19 and cannot rely on that

minimal risk to show a serious deterioration in health due to age.


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      Considering all of Mr. Holley’s arguments and medical records, he cannot

show a “a serious deterioration in physical or mental health because of the aging

process.” U.S.S.G. § 1B1.13 cmt. 1(B). Mr. Holley’s conditions, while numerous,

are generally benign, stable, well-managed, and do not cause a major adverse

effect on his quality of life. He does not appear to be in a rapid decline in health

and his refusal to take a stress test demonstrates a lack of concern for what is likely

his most serious condition. Mr. Holley’s conditions appear to be best characterized

as “ordinary geriatric ailments,” which do not rise to the level of extraordinary and

compelling reasons for compassionate release. United States v. Brown, No. 1:04-

CR-00006, 2020 WL 3035916, at *3 (M.D. Tenn. June 4, 2020). Thus, the court

finds that Mr. Holley’s health conditions lack the requisite severity to show that he

is experiencing a serious deterioration in health due to age.

      This conclusion is bolstered by comparing Mr. Holley’s situation to that of

other inmates around the country who courts have found showed extraordinary and

compelling reasons for release due to age and health. In some cases, courts have

found that an inmate has shown extraordinary and compelling circumstances based

on the rapidity with which the inmate’s condition was worsening. See, e.g., United

States v. Mondaca, No. 89-CR-0655 DMS, 2020 WL 1029024, at *3 (S.D. Cal.

Mar. 3, 2020) (finding serious deterioration due to the aging process where inmate

had several age-related conditions including decreased memory, was placed on


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suicide watch after being assaulted, was “increasingly vulnerable to victimization

within the correctional facility,” and had “withdrawn to his cell out of fear of

interaction with other inmates”); Ebbers, 432 F. Supp. 3d at 431–32 (finding a

deterioration due to age where the inmate was in “rapid decline” characterized by

dementia requiring 24-hour nursing care, rapid involuntary weight loss, difficulty

walking such that he constantly required some kind of assistance, multiple

hospitalizations, and a several other diagnosed conditions). Mr. Holley has not

indicated that he has recently experienced any similar kind of sudden or rapid

decline in health and wellness, which undermines his ability to show a serious

deterioration in health due to his age.

      In other cases, courts have relied in part on the fact that an inmate needed

constant care, required constant medical aids like a walker or oxygen, or required

frequent hospitalizations or serious medical treatments. See, e.g., United States v.

Canty, No. 3:94-CR-169-HLA-MCR, 2021 WL 1526351, at *4 (M.D. Fla. Apr. 19,

2021) (finding extraordinary and compelling reasons based on age where the

defendant suffered from “a litany of ailments, including end-stage renal

disease, chronic viral hepatitis C, type 2 diabetes, hypertension, ischemic

cardiomyopathy (a type of heart disease), and HIV,” required dialysis, and had

recently broken his hip); United States v. Lynn, No. CR 89-0072-WS, 2020 WL

3229302, at *2–3 (S.D. Ala. June 15, 2020) (finding serious deterioration due to


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age where an inmate had numerous health conditions including, but not limited to,

uncontrolled high blood pressure, degenerative changes in his knee that precluded

any sports activity, atrial fibrillation that had required multiple hospitalizations,

chronic kidney disease, and coronary artery disease “more extensive and severe

than is typically seen in patients of his age”); United States v. Conner, 465 F. Supp.

3d 881, 886–89 (N.D. Iowa 2020) (finding extraordinary and compelling reasons

based on age where the defendant required daily supplemental oxygen, had to use a

wheelchair, needed constant wound care, and had been hospitalized four times in

the past six years). Mr. Holley has not shown that he has had to be frequently

hospitalized or that he requires frequent medical treatments like dialysis. He also

has not shown that he requires any medical apparatus like oxygen or a walker and

has not shown that he requires constant care for his health conditions. Mr.

Holley’s situation pales in comparison to some inmates who courts have found

showed a serious deterioration due to age.

      The fact that Mr. Holley has received the COVID-19 vaccine and is

protected from the virus also separates him from many inmates who were able to

show a serious deterioration in health due to age. Courts have found extraordinary

and compelling reasons for release based on health and age for inmates with

conditions somewhat similar to Mr. Holley’s, but who were also at high risk from

COVID-19. See, e.g., United States v. Johnson, No. 3:20-CR-25-J-34PDB, 2020


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WL 5513380, at *3 (M.D. Fla. Sept. 14, 2020) (finding extraordinary and

compelling reasons where an 80-year-old was at high risk from COVID-19 and

suffered from “type 2 diabetes, stage 3 chronic kidney disease, high blood

pressure, a heart murmur, post-traumatic stress disorder (PTSD), depression, a

lower back injury, a right leg injury, sleep apnea, and vision loss in his left eye”);

United States v. Smith, 482 F. Supp. 3d 1218, 1224–25 (M.D. Fla. 2020) (finding

extraordinary and compelling reasons based on age and the specific risk posed by

COVID-19 where the defendant had multiple medical conditions related to age and

had recently suffered a stroke); but cf. United States v. Shepard, No. CR 07-85

(RDM), 2021 WL 848720, at *7 (D.D.C. Mar. 4, 2021) (finding that an inmate had

not shown a serious deterioration due to age where the inmate had been vaccinated

against COVID-19 and suffered from skin cancer that was possibly in remission,

an enlarged prostate, borderline obesity, high blood pressure, smoker’s cough, and

“a laundry list of other minor ailments”). Unlike many prisoners granted relief,

Mr. Holley does not have the additional risk of COVID-19 to increase the overall

severity of his health conditions.

      So, Mr. Holley’s conditions are less severe than the conditions of many

inmates who courts have found showed extraordinary and compelling

circumstances warranting release. Instead, Mr. Holley’s situation is more like the

situation in cases in which courts found that inmates failed to make the requisite


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showing of extraordinary and compelling circumstances based on age. Courts

have found that inmates did not show a serious deterioration based on age where

they suffered from multiple relatively minor or treatable conditions commonly

caused by aging. See, e.g., Shepard, No. CR 07-85 (RDM), 2021 WL 848720, at

*7 (finding no deterioration based on skin cancer that was possibly in remission, an

enlarged prostate, borderline obesity, high blood pressure, smoker’s cough, and “a

laundry list of other minor ailments”); Brown, No. 1:04-CR-00006, 2020 WL

3035916, at *3 (finding that an inmate had not shown extraordinary and

compelling circumstances where he had cancer that was being successfully treated,

controlled diabetes and high blood pressure, single-eye blindness, and back pain

requiring a cane); United States v. Young, 458 F. Supp. 3d 838, 848 (M.D. Tenn.

2020) (finding that, standing alone, a 72-year-old inmate’s health issues of high

cholesterol, high blood pressure, cataracts, diabetes requiring multiple daily

injections, chronic kidney disease, and abdominal pain did not qualify as

extraordinary and compelling reasons warranting compassionate release). Like the

inmates in these cases, Mr. Holley has multiple treatable conditions commonly

caused by aging, but he has not shown that any are particularly severe.

      The facts on the record and the context provided by caselaw around the

country support the court’s finding that Mr. Holley cannot show “a serious

deterioration in physical or mental health because of the aging process.” U.S.S.G.


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§ 1B1.13 cmt. 1(C). Mr. Holley’s conditions are numerous, but he has not shown

that they are particularly severe; his situation is more akin to the medical situation

of inmates who courts found had not established extraordinary and compelling

reasons for relief. Mr. Holley has not shown that he qualifies for compassionate

release based on his age under the policy statement in Application Note 1(C). See

id. Because Mr. Holley cannot show extraordinary and compelling reasons

meriting release under any of the provisions of the policy statement, he cannot

show entitlement to relief under Section 3582(c)(1)(A); therefore, his motion for

compassionate release is due to be denied. See 18 U.S.C. § 3582(c)(1)(A).

      As a final note, the court will decline to appoint counsel for Mr. Holley. No

constitutional or statutory right to counsel exists for Section 3582 motions; the

decision whether to appoint an attorney in a Section 3582 action is left to the

court’s discretion. United States v. Webb, 565 F.3d 789, 795 (11th Cir. 2009).

Here, the court finds that Mr. Holley has effectively put forth the basic contours of

his arguments for compassionate release without assistance and his claims are not

so complex as to require appointed counsel.

      IV.    CONCLUSION

      Because he has not shown extraordinary and compelling reasons for a

reduction in sentence in light of the applicable policy statement, the court will

DENY Mr. Holley’s motion for compassionate release, (doc. 485). The court


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likewise will DENY his motion for appointment of counsel, (doc. 484).

      DONE and ORDERED this 7th day of June, 2021.



                                     SHARON LOVELACE BLACKBURN
                                     UNITED STATES DISTRICT JUDGE




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